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                    EXHIBIT 15
          Case 2:10-md-02179-CJB-DPC Document 11988-16 Filed 12/16/13 Page 2 of 3




From: lhs3law <lhs3lawthotmaiI.com>
Subject: Re: logo
Date: May9, 20136:11:18 PM EDT
To: glen lerner <glenlerneresgaol.com>
Reply-To: lhs3law <lhs3lawhotmaiI.com>
Yes. And she should know to call me when she has problems.


Lionel Sutton

Sent via the Samsung Galaxy Note® II, an AT&T 4G LTE smartphone

.      Original message
From: glen lemer <glen1erneresg(iiao1 .com>
Date: 05/09/20 13 4:12 PM (GMT-06:00)
To: Sutton Lionel <lhs3law@hotmai1.com
Subject: Re: logo


Thank you. Can I share this with my office manager Susan

Sent from my iPhone

On May 9, 2013, at 4:51 PM, Sutton Lionel <lhs3law@hotmail.com> wrote:

       Just between me and you, here is your report:

       402 claimants:
       l°/o have submitted a signed Claim Form;
       6
       22% started a Registration Form but did not finish;
       I % finished Registration but did file a Claim Form;
       <PYo finished Registration, started a Claim Form but did not linish.

       466 total claims filed:
       89 paid;
       179 Incompleteness Notices issued, only 93 responded to (17 of the non-resporisives are waiting
                                                        1
   Case 2:10-md-02179-CJB-DPC Document 11988-16 Filed 12/16/13 Page 3 of 3
to get paid);
136 under review but no Incompleteness Notices issued;
47 denied

Example of some problems:
 1) Your firm was issued an incompleteness Notice on Talen’s on 12/3. What appears to be a
complete response was not received by us until 5/3. During that 6 month period, a lot of claims
got in front of yours.
2) Only a little more than half of your clients have even submitted signed claims. At an intake
rate of more than 200/day, your clients will be way behind.



Lionel H. Sutton, III
935 Gravier St., Ste. 1910
New Orleans, LA 70112
Office 504 592 3230
Cell 504 957 4689



Subject: Re: logo
From: g1enlerneresgaoLcom
Date: Thu, 9 May 2013 15:23:19 -0400
To: lhs31aw@hotmail.com

They are not paying claims. Insane

Sent from my iPhone

On May 9, 2013, at 3:16 PM, Sutton Lionel <lhs3law@hotmail.com> wrote:

       she’s good. it has actually been pretty fun working together on this.

       Lionel H. Sutton, III
       935 Gravier St., Ste. 1910
       New Orleans, LA 70112
       Office 504 592 3230
       Cell 504 957 4689



      Subject: Re: logo
      From:
      Date: Thu, 9 May 2013 15:13:14 -0400
      To: lhs3law(hotmail.co1n

      Ooh la la. Work harder. I-low’s Chris.

      Sent from my iPhone


                                                2
